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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    June 12, 2023

BY ECF

The Honorable Edgardo Ramos
United States District Judge
United States Courthouse
40 Foley Square
New York, New York 10007

              Re:     United States v. Ruja Ignatova, et al., 17 Cr. 630 (ER)

Dear Judge Ramos:

        The undersigned Assistant United States Attorney is leaving the United States Attorney’s
Office for the Southern District of New York. Accordingly, the Government respectfully
requests that the Court direct the Clerk of Court to terminate the appearance of the undersigned
counsel on the above-captioned docket.

                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney

                                            By:             /s/
                                                    Christopher J. DiMase
                                                    Assistant United States Attorney
                                                    Tel.: (212) 637-2433




   The application to withdraw as counsel of record is granted.
   SO ORDERED.




            6/13/2023
